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    B1040 (FORM 1040) (12/15)

            ADVERSARY PROCEEDING COVER SHEET                                                        ADVERSARY PROCEEDING NUMBER
                                                                                                    (Court Use Only)
                    (Instructions on Reverse)

P AINTIFFS                                                                           DEFENDANO

                                                                                                              ,


ATTORNEYS (Firm Name, Address, and Telephone No.)                                    AT         RNEYS (If k own)                   i
                                                                                                      in 1                         Ili) I--- C.--
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                                                        ,
                                                 r<•, - 1   PK—d           5(   --
PA_R;CY (Check One Box Only)                                                         P[YJChekne    Box Only)
Kbebtor       o U.S. Trustee/Bankruptcy Admin                                        o e tor      .S. Trustee/Bankruptcy Admin
o Creditor    o Other                                                                o r ' r   o Other
o Trustee                                                                            o rustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)


                    M \ir..e,r-                       .R,e,cou2_,
                                                                     NATURE OF SUIT
              umber up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

        FRBP 7001(1) - Recovery of Money/Property                                    FRBP 7001(6) - Dischargeability (continued)
111 I I -Recovery of money/property - §542 turnover of property                      III 6I-Dischargeability - §523(a)(5), domestic support
. I2-Recovery of money/property - §547 preference                                    0 68-Dischargeability - §523(a)(6), willful and malicious injury
II I3-Recovery of money/property - §548 fraudulent transfer                          II 63-Dischargeability - §523(a)(8), student loan
III 14-Recovery of money/property - other •                                          III 64-Dischargeability - §523(a)( IS), divorce or separation obligation
                                                                                            (other than domestic support)
        FRBP 7001(2) - Validity, Priority or Extent of Lien                          D   65-Dischargeability - other
II 21-Validity, priority or extent of lien or other interest in property                                                                             th-a
                                                                                                                                                     ..-z:
                                                                                     F      7001(7) - Injunctive Relief
        FRBP 7001(3) - Approval of Sale of Property                                                                                                  ....
                                                                                          71-Injunctive relief- imposition of stay -                  c'
IN 31 -Approval of sale of property of estate and of a co-owner - §363(h)            MI . 72-Injunctive re - other                                    C- ",
                                                                                                                                                       —I
        FRBP 7001(4)- Objection/Revocation of Discharge                                    PC   1(8) Subordination of Claim or I4       es
                                                                                                                                                  --   IN)
                                                                                                                                                       CO
.       41-Objection / revocation of discharge - §727(c),(d),(e)                           81-Subordination of claim or interest
                                                                                                                                             -     ,
                                                                                                                                                       --rj
                                                                                                                                                       --a-
        FRBP 7001(5) - Revocation of Confirmation                                    FRBP 7001(9) Declaratory Judgment
                                                                                                                                                       .....•         ;



II 5I-Revocation of confirmation                                                                                                                       —
                                                                                     M     9 I -Declaratory judgment
                                                                                                                                              4        ...,...
        FRBP 7001(6) - Dischargeability                                              FRBP 7001(10) Determination of Removed              on              "---
.   66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims                  M     01-Determination of removed claim or ca
III 62-Dischargeability - §523(a)(2), false pretenses, false representation,
        actual fraud                                                                 Other
111 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny      M     SS-SIPA Case- 15 U.S.C. §§78aaa etseq.
                          (continued next column)
                                                                                     III   02-Other (e.g. other actions that would have been brought in state court
                                                                                              if unrelated to bankruptcy case)
ID Check if this case involves a substantive issue of state law                      o Check if this i asserted to be a class ction under FRCP 23

V  h—eck if a jury trial is demanded in complaint
Other Relief Sought
                                                                                     Demand $
                                                                                                                  00     1
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 B1040 (FORM 1040) (12/15)

                BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR     il                           BANKRUPTCY CASE Ni. 9-1_    ii_g _ 3
                                i        -C.--
                                 li i) <--               s        2                                                           5
DISTRICT IN WHICH CASE IpEADING                 DIVISION OFFICE       NAME OF JUDGE
            40
                           RELATED ADVERSARY PROCEEDING (IF ANY)
PLAWFF                               DEFENDANT                        ADVERSARY
    K..DIJ i nt-e__       s-e..._              MF       WV      (na   PROCEEDING  NO.

DISTTII61 W ICH ADVERSARY IS PENDING                               41 \ /I4ON OFFICE
                                                                                                 J-              OF . )GE
                                                                     )
                                                                      t
                                                                                                                                 itt   —
SIGNATURE OF ATTORNEY (OR PLAINTIFF)




DATE                                                                  PRINT NAME OF ATTORNEY OR PLAINTIFF)
                                           ktil         1 07
              ''?   0     /   lir


                                                        INSTRUCTIONS

           The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor's discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court's Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff's attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
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                     UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA, DIVISION                   n,?CCT 28 PM 1: IL



BONNIE ROSE                                    )Bankruptc       ase
                                                 No.:
                                               )
3019 SAINT ANDREWS COURT                       ) 19-64835-pmb
JONESBORO, GEORGIA 30236                       )
                                               )
Plaintiff,                                     )Adversary
                                               )Complaint NO.:
vs.                                            )
WVMF FUNDING LLC.                              )
RUBIN LUBLIN LLC.                              )
                                               )
and

                                               )
MELISSA J. DAVEY                               )
BANKRUPTCY TRUSTEE,                            )
CHAPTER 13


Defendant(S)


             COMPLAINT TO DETERMINE THAT THE AUTOMATIC STAY
               MUST REMAIN IN EFFECT PURSUANT TO 11 U.S.C.
              707(b)AND/OR IN IT'S ALTERNATIVE TO IMPOSE AN
                ORDER UNDER: 362(C) (4)(B), AND THAT THE
                AUTOMATIC STAY MUST REMAIN IN EFFECT AND
               VERIFICATION THAT DEFENDANT IS A "UNSECURED
             CREDITOR" AND DOES NOT HAVE LEGAL RIGHTS TO THE
             PROPERTY IN QUESTION AND THE PLAINTIFF MUST BE
                       AWAREDED DECLARATORY RELIEF

        1. This adversary proceeding is brought pursuant
        to a TO 11 U.S.C. 707(b) and Federal Rule of
        Bankruptcy Procedure.

        2. This court has jurisdiction over this
        adversary proceeding pursuant to 28 U.S.C. §§151,
        157 and 1334(b). Venue is proper pursuant to 28
        U.S.C. § 1409.

        3. This adversary proceeding is a core
        proceeding as defined at 28 U.S.C. § 157(b) (2)
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        (b) and (b) (2) (K) in that it is an action to
        determine the nature, extent and validity of a
        lien on property evidenced by a deed of trust,
        and the allowance or disallowance of a claim.
        This is a core proceeding pursuant to 28 U.S.C.
        157(b), and jurisdiction exists pursuant to 11
        U.S.C. § 502 (a) and (b) (1), 11 U.S.C. § 544 (a)
        (3) and (b) (1), 28 U.S.C. 1334, 28 U.S.C. 2201
        for declaratory relief and 28 U.S.C. 1367 for
        pendent state claims.


                                      PARTIES

        4. Plaintiff is an individual, and debtor of
        the within captioned bankruptcy case, having
        filed a Voluntary Petition for relief under
        Chapter 13 of the Bankruptcy Code 7 ("the
        Bankruptcy Case") in the Northern District of
        Georgia Case, Atlanta Division Number:
        19-64835-pmb

        5. Plaintiff is and at all times mentioned
        herein is the owner and purchaser of real
        property (hereinafter referred to as "SUBJECT
        PROPERTY") and more particularly described as AND
        LOCATED AT: 3019 SAINT ANDREWS COURT, JONESBORO,
        GEORGIA 30236, CLAYTON COUNTY, GA.


                             STATEMENT OF FACTS

         6. Plaintiff is informed and believes and therefore alleges that
               WVMF is "SECURED CREDITOR" and has no records of
            certification Of ownership. This entity is used by WVMF owner of
            GMAC an outside financial institution located Mortgage company
            originally purchasing the property located at: 3019 Saint Andrews
            Court, Jonesboro, ga. 30236


             WVMF has tried and continues to try to Commit Foreclosure
            fraud on homeowners in the Atlanta
             Area and neighboring states illegally. See Exhibit A



         7. WVMF committed fraudulent corporate
            Assignments on Plaintiffs "Real Property"
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        Located at 3019 Saint Andrews Court, Jonesboro,
        Georgia 30236

            In the capacity of chief financial officer and
            As attorney in-fact for Secretary of HUD.

        See Exhibit B

        8. RUBIN LUBLIN LLC. at: 3145 AVALON RIDGE
        PLACE, SUITE 100 Peachtree Corners, Ga. 30071,
        is a law firm, is subject to personal
        jurisdiction in this Court because it transacts
        substantial business in Georgia and it has agents
        Selene Finance LP and conducts business through
        his company RUBIN LUBLIN LLC.
        Hasty in Georgia and in this District.


        9. The matter in controversy of this civil
        adverse action exceeds the sum or value of
        $5,000,000 exclusive of interest and costs.


                                 OPERATIVE FACTS

        10. Plaintiff financed her home located in
        CLAYTON COUNTY, GA with GMAC, A NEW Jersey
        Corporate, dated 06/03/2009 In connection with
        the home loan, Plaintiff granted a security
        instrument to Mortgage Electronic Registration
        System.

         11. The security deed held by Real Estate GMAC,
         INC was filed in the Office of the Clerk,
         Superior Court, and CLAYTON, Georgia and is
        'recorded in Deed Book 2694 Page 290.
         See Exhibit C

        12. An Affidavit of Fraud, Forgery and Breach of
        Contract will be with the CLAYTON County real
        estate records stating the true facts to the
        belief and knowledge of BONNIE ROSE,- -see
        Exhibit B. The signatures on the Security Deed,
        Waiver of Borrower's rights are the signatures of
        BONNIE ROSE. See Exhibit D

        13. DEFENDANT coNveyED title to Plaintiffs
        property, that he does not own or that purported
        corporation principal has not authorized
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        Defendant to convey, and any such attempted
        conveyance is void as a matter of law. Matter of
        Pope, INC. 721 F.2nd 1321, 1322, (11t cir, 1983).


        14. DEFENDANT WVMF cannot be the assignee under
        the Plaintiff Security Deed the chain of is
        broken and should be void on its face, Only
        Members or Managers of a limited liability
        company have authority to "bind" an LLC. See
        0.C.G.A. 14-11-301.

        15. On information recently discovered and her
        belief, BONNIE ROSE - never signed a Waiver of
        Borrower's Rights nor did she give WVMF Power
        attorney or permission to act as attorney in-
        fact-for her.

         16. On information and belief, WM Fuses -, WVMF.
         Solely for Extortion, Forgery, Conspiracy, Theft
         by deception, theft by conversion, fraud schemes,
         mortgage, foreclosure fraud, mail fraud. WVMF is
         operating in Georgia fraudulently, and in many
         counties illegally, executing fraudulent document
         on the property as the chief financial officer
         and as attorney in fact for the Secretary of HUD.

         17. They have been sued numerous and have been
         fined by many State Attorney General's Office as
         well as H.U.D. with multi infractions on
         violations and other relative false Claims Act
         and Fraud and/or Fraudulent Truth-In-Lending
         activities - See Exhibit "B" (Complaint File
         #15-1087 See Exhibit E

         18. M) filed in U.S. District Court, Northern
         District of Georgia (ATLANTA) under CIVIL
         COMPLAINT FOR A WRONGFUL FORECLOSURE 1:06-cv-
         00547-AT titled USA, Ex Rel., Bibby v. BRONZE
         CREEK TITLE TRUST AND WILMINGTON TRUST, CLAYTON
         Bank, National Association

         19. The Plaintiff filed a lengthy objection to -,
         WVMF to stay relief motion on October 2, 2019,
         arguing, among other things, that -, WVMF is not
         a Secured Creditor of Plaintiff property and does
         not claim to be a secured creditor of "plaintiff"
         Property. Alleged corporate assignments are
         invalid. Further, GMAC Mortgage Corporation
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        extended a Loan Modification to Plaintiff that
        WVMF Funding did not follow through on.

        20.The objection was accompanied by BONNIE ROSE
        Declaration of Private Investigator William J.
        Paatalo, disagreeing with WVMF factual
        allegations regarding the alleged Power of
        Attorney and Attorney In-Fact of Plaintiff
        property. See Exhibit E



        21.Two recent decisions, emphasized that a party
        seeking in rem relief under 362(d)(4) must
        establish, and the bankruptcy court must find,
        that the movant is a "Secured Creditor" whose
        claim is secured by interest in the property in
        question. In re Laconico, 2014 WL 3687202, at *1
        (Bankruptcy. N.D. cal. July 24, 2014); In Re
        Robles, 2014 WL 3715092, at *1 (Bankr. N.D. Cal.
        July 24, 2014).

         22. Other bankruptcy courts in the circuits have likewise held that
         the party seeking in rem relief must demonstrate that it is a
         "Secured Creditor". In re Gonzales, 456 B.R. 429, 442 (Bankr. C.D.
         Cal. 2011). Rev'd on other grounds, Quality Loan Serv. Corp. v,
         Gonzalez( In re Gonzales, 2012 U.S. Dist. LEXIS 188105 (C.D.
         Cal. June 14, 2012).


        23 So have other courts from other circuits: In re McCray, 342
        B.R. 668. 67 (Bankr. D.D.C. 2006 ( 362(d)(4) is limited to a. Stay of
        an act against real property and to 'a creditor whose claim is
        secured by an interest in such real property.

         24. - WVMF, [ the movant] holds no Secured by no interest in the
         the Plaintiff Property. Instead, it claim to own Plaintiff property
         pursuant to a foreclosure sale (which by definition would extinguish
         the security interest it had in the Plaintiffs property.


         25.See also In Re Stoltzfus, 2009 WL 2872860, at *6 (Bankr. E.D. Pa.
         March 30, 2009) (because the movant - WVMF, do not hold claims
         secured by the interest in the Plaintiff real property, the provision of
         section 362(d)(4) are not applicable).

        26. This view is also shared by a leading treatise on bankruptcy law:
        "The relief under 362 (d) (4) is available only to a creditor whose claim is
        secured by interest in real property."
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        27. All though BONNIE ROSE argued the point, the bankruptcy court did
        not address the undisputed fact that -, WVMF is not a secured
        creditor./GMAC is and was at the time of the actual title change.

        28. The evidence submitted to the bankruptcy court by RUBIN LUBLIN
        LLC. Hasty the Defendants Attorney unequivocally demonstrates that they
        sought In Rem relief, not as a secured creditor, but as putative owner of
        Plaintiffs property.

        29. -, WVMF is not a "creditor whose claim is secured by an interest "in
        the Plaintiffs Property.

        30. The Bankruptcy Court applied an incorrect legal rule and thereby its
        discretion when it granted -, WVMF In Rem relief under 362(d)(4).

         31. According, this speaks to the aspect of the Bankruptcy Court's Order
         and for legal purposes should be reversed.




                            FIRST CLAIM FOR RELIEF
                 [Declaratory Relief to Determine an Interest
                                 in Property]
                        [F.R.B.P 7001(2) and 7001(9)]



         32. Plaintiff re-alleges and incorporates the
         allegations contained in the preceding paragraphs
         as though set forth at length herein.

        33.Plaintiff alleges that she holds the only
        interest in the Property free and clear of any
        interest of defendants, in that the lien
        evidenced by the "Deed of Trust" and its
        subsequent assignments has no value since it is
        wholly 'unsecured', and that accordingly, the
        "Deed of Trust" is null and void.


         34.Plaintiff is informed and believes that
         Defendant WVMF, WVMF, allege that the Deed of
         Trust cannot be determined to be null and void
         because it is unsecured by the Property which is
         Plaintiff's principal residence and is not wholly
         unsecured.
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        35. Plaintiff is informed and believes and
        thereon alleges that Defendants dispute the
        contention alleged herein, and this is the reason
        she filed for Chapter 13'protection.

        36.An actual controversy exists between Plaintiff
        and Defendant with regard to the validity, nature
        and extent of their interests in the "Subject
        Property "located at 50 Blue Grass Way, Oxford,
        Georgia ga 30054

        37. It is necessary that this Court declare the
        actual rights and obligations of the parties and
        make a determination as to the validity, nature
        and extent of Defendants' interest in the
        Property.


              WHEREFORE, Plaintiff prays for judgment
              against Defendants as follows:


              t      That the Court determine the nature and
                    extent and validity of Defendants'
                    interest in the real property located at
                    3019 SAINT ANDREWS COURT, JONESBORO, GA.
                    30236


        2. That the Court determine that the amount of
        the lien secured by the "Deed of Trust described
        herein is zero;


        3.   That the Court determine that the claim owed
           WVMF by Plaintiff is wholly unsecured DUE TO
        GMAC Mortgage as assignee.


        4. That the Court determine that the "Deed of
        Trust", "Corporate Assignments " any Liens is
        null and void; and county records be expunged of
        documents rendered fraudulent.


        5. That the court finds that the Bankruptcy
        Stay was and is in effect.
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        6. For attorney fees and costs of suit incurred
        herein; and



        7. For such other and further relief as the
        court deems just and proper.




        Dated this 28TH      DAY OF OCTOBER, 2019



                                                      r
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                    UNITED STATES BANKRUPTCY COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA, DIVISION



        BONNIE ROSE                                   )Bankruptcy Case
                                                        No.:
                                                      )
        3019 SAINT ANDREWS COURT                      ) 19-64835-pmb
        JONESBORO, GEORGIA 30236                      )
                                                      )
        Plaintiff,                                    )Adversary
             vs.                                      )Complaint NO.:
        WVMF FUNDING LLC.                             )
        Rubin Lublin 11c.3145 Avalon Ridge Place      )
                                                      )
        Peachtree Comers, Ga. 30071                   )

         and
                                                       )
                                                       )
        MELISSA J. DAVEY                               )
        BANKRUPTCY TRUSTEE,
        CHAPTER 13


        Defendant(5)




          COMPLAINT TO DETERMINE THAT THE AUTOMATIC STAY
            MUST REMAIN IN EFFECT PURSUANT TO 11 U.S.C.
           707(b)AND/OR IN IT'S ALTERNATIVE TO IMPOSE AN
             ORDER UNDER: 362(C) (4)(B), AND THAT THE
             AUTOMATIC STAY MUST REMAIN IN EFFECT AND
            VERIFICATION THAT DEFENDANT IS A "UNSECURED
          CREDITOR" AND DOES NOT HAVE LEGAL RIGHTS TO THE
          PROPERTY IN QUESTION AND THE PLAINTIFF MUST BE
                    AWAREDED DECLARATORY RELIEF

                               CERTIFICATE OF SERVICE

        I have severed on the above with a copy of the proceedings through a
        Bankruptcy Summons dated on December 21, 2017.


                                                              , 10/28/2019
